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UNITED STATES DISTRICT COURT ar JUN 2 A ual!
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division Clan wale
SHAWNA MERCER,
Plaintiff,
Vv. Civil Action No. 3:09ev111

H&P CAPITAL, INC.,
JOHN DOE, a/k/a “ROBERT ANTHONY,”

NOEL POOLER,
and
GARY HENRION,
Defendants.
DISMISSAL ORDER

THIS DAY CAME the Plaintiff Shawna Mercer and the Defendants H&P Capital, Inc.,
Noel Pooler, and Gary Henrion, by their respective counsel, and moved the Court to dismiss with

prejudice all claims against Defendants H&P Capital, Inc., Noel Pooler, and Gary Henrion in the

above-styled action.

UPON CONSIDERATION, of the representations of counsel, and for other good cause

shown, it is ORDERED, ADJUDGED, and DECREED that this civil action is DISMISSED with

prejudice.

The Clerk is directed to send copies to all counsel of record.

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Entered this of day of June.

, 2009.
SO ORDERED
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CLERK, U.S. DISTRICT
RICHMOND, GR, COURT

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WE ASK FOR THIS:

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